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DAVID E. KLEINFELD (Bar No. 110734) FE |.
CHAD R. FULLER (Bar No. 190830) .
HELLER EHRMAN WHITE & McAULIFFE L JUN 23/2H I: 98
4350 La Jolla Village Drive, 7th Floor Poe ae
San Diego, California 92122-1246 A DISTRICT COURT
Telephone: (858) 450-8400 si DISTRICT OF CALIFORNIA
Facsimile: (858) 450-8499

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Attorneys for Defendants NUNC PRO TUNC
CONVIO, INC. JUN 1 8 2093

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

KINTERA, INC., a Delaware corporation, Case No.: 02 CV 0264 M (LSP)

Plaintiff, NOTICE OF MOTION AND MOTION
OF DEFENDANT CONVIO, INC. TO
v. COMPEL PRODUCTION OF
DOCUMENTS

CONVIO, INC., a Delaware corporation, BY PLAINTIFF KINTERA, INC.

Defendant. Date: July 14, 2003
Time: 9:00 am
Judge: Hon. Leo. S. Papas

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on July 14, 2003 at 9:00 am, or as soon thereafter as the

matter may be heard in Courtroom G of the above-entitled Court, located at 940 Front Street,
San Diego, California, Defendant Convio, Inc. will and hereby does move this Court for an
order to compel the production of third-party witness statements and other documents
improperly withheld from production by Plaintiff Kintera, Inc., including the information
referenced by the following entries on Kintera’s privilege log: 10, 14, 16, 17, 26, 28, 36, 41
65, 70 —78, 82, 83, 84, 87, 88-109, 112, 113, 121 and 122.

NOTICE OF MOTION OF CONVIO, INC. TO COMPEL PRODUCTION O02CV 0264M{(LSP)

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1 The Motion is based upon this Notice of Motion and Motion; the Memorandum of
2 || Points and Authorities filed herewith; the Declarations of Chad R. Fuller and Patrick Dillon
3 || filed herewith; as well as the complete files and records in this matter; and such other matters
4 || presented to or considered by the Court prior to or during the hearing on this Motion.
5 || DATED: June 18, 2003
6 HELLER EHRMAN WHITE & McAULIFFE LLP
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8 By OLY ile’
9 CHAD R. FULLER
Attorneys for Defendant
10 CONVIO, INC.
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DAVID E. KLEINFELD (Bar No. 110734)
CHAD R. FULLER (Bar No. 190830)
HELLER EHRMAN WHITE & McAULIFFE LLP
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San Diego, California 92122-1246
Telephone: (858) 450-8400
Facsimile: (858) 450-8499

Attorneys for Defendant
CONVIO, INC.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

KINTERA, INC., a Delaware corporation, Case No.: 02 CV 0264 M (LSP)
Plaintiff, CERTIFICATE OF SERVICE VIA

v.
CONVIO, INC., a Delaware corporation,
Defendant.

OVERNIGHT MAIL AND FACSIMILE

CERTIFICATE OF SERVICE

02CV 0264M(LSP)

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PROOF OF SERVICE

I, Michelle C. Henderson, declare as follows:

Iam and was at the time of the service mentioned in this declaration, employed in the
County of San Diego, California. I am over the age of 18 years and not a party to the within
action.

My business address is:

Heller Ehrman White & McAuliffe LLP, 4350 La Jolla Village Drive, 7th Floor, San
Diego, CA 92122-1246.

On June 18, 2003, I served the following documents:

DECLARATION OF CHAD R, FULLER IN SUPPORT OF DEFENDANT CONVIO,
INC. ty RA INC. TO COMPEL PRODUCTION OF DOCUMENTS BY PLAINTIFF
KINT INC

DECLARATION OF PATRICK DILLON IN SUPPORT OF DEFENDANT CONVIO,
INC.’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY PLAINTIFF
KINTERA, INC.

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT
CONVIO, INC.’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY
PLAINTIFF KINTERA, INC.

NOTICE OF MOTION AND MOTION OF CONVIO, INC. TO COMPEL
PRODUCTION OF DOCUMENTS BY PLAINTIFF KINTERA, INC.

on the parties to this action by placing true and correct copies in a sealed envelope(s)

addressed as follows:

Attorney/Addressee Party(ies) Served
Ethan B. Andelman .
Buckmaster de Wolf Counsel for Kintera, Inc.

HOWREY SIMON ARNOLD & WHITE
LLP

301 Ravenswood Avenue

Menlo Park, CA 94025-3434

Tel: (650) 463-8100

Fax: (650) 463-8400

Via Facsimile and Overnight Mail

CERTIFICATE OF SERVICE 02CV0264M(LSP)

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X (BY EXPRESS COURIER). I placed true copies thereof in a sealed Fed Ex,

overnight delivery envelope, air bill addressed as shown, for collection and

delivery pursuant to the ordinary business practice of this office which is that
correspondence for overnight delivery via courier service is collected and
deposited with the courier service representative on the same day in the
ordinary course of business.

X (BY FACSIMILE). At approximately 3:00 p.m., by use of facsimile machine, I
served a copy of the above documents. The facsimile machine that I used
complied with California Rules of Court, Rule 2003(3) and no error was

reported by the machine. Pursuant to California Rules of Court, Rule 2005, I

caused the machine to print a transmission record of the transmission with
successful transmission.
I declare under penaity of perjury under the laws of the state of California that the

foregoing is true and correct and that this proof of service was executed on June 18, 2003 at

Lgl.

Michelle C. Henderson

San Diego, California.

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CERTIFICATE OF SERVICE 02CV0264M(LSP)

